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                           EXHIBIT “B”


        DECLARATION OF PRO SE ELIGIBLE CLAIMANT
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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                     )   Case No. 3:19-md-02885
 EARPLUG PRODUCTS LIABILITY                )
 LITIGATION                                )   Judge M. Casey Rodgers
                                           )
                                           )   Magistrate Judge Hope T. Cannon
 This Document Relates to:                 )
 All Cases                                 )
                                           )

     DECLARATION OF PRO SE ELIGIBLE CLAIMANT PURSUANT TO
                    IDENTIFICATION ORDER

1.      My name is [INSERT NAME OF PRO SE ELIGIBLE CLAIMANT], and I

        am an Eligible Claimant but not represented by counsel.

2.      I submit this Declaration in accordance with the Combat Arms Settlement

        Agreement and the Court’s Identification Order on behalf of myself.

3.      Attached hereto is the chart that identifies my personal information and

        information about my case. The attached chart will be timely served in both

        hard copy and in EXCEL format to MDL-Centrality in conformance with the

        Identification Order, and contains the required demographic and contact

        information so that I may be contacted by the Settlement Administrator.

4.      I understand that to comply with the MSA and the Court’s Identification

        Order, this Declaration must be submitted to the Court via MDL Centrality

        by the Reference Date, which deadline is fourteen (14) days after the


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        Identification Order was issued.

5.      I understand and agree that my failure to provide the information required

        will result in: (a) dismissal with prejudice of my CAE claims; and (b)

        potential sanctions and other penalties as may be determined by the Court,

        either pursuant to a motion of a Party or sua sponte.

6.      I swear under penalty of perjury that the foregoing is true and correct.




DATE: [MONTH] [DAY], [YEAR]                      /s/
                                                 [NAME OF CAE CLAIMANT]
                                                 [ADDRESS]
                                                 [ADDRESS]
                                                 [ADDRESS]
                                                 [TELEPHONE NUMBER]
                                                 [EMAIL ADDRESS]




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      IDENTIFICATION OF PRO SE ELIGIBLE CLAIMANT




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